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   EXHIBIT 202
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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                      COVINGTON DIVISION

                                  CASE NO.: 2:18-cv-00205-DLB-CJS

    JOHN ANTONY,

                    Plaintiff,


    V.



    BUENA VISTA BOOKS, INC.,

                    Defendant.



         PLAINTIFF'S DESIGNATION OF EXPERT AND DISCLOSURE OF EXPERT
                                        WITNESS TESTIMONY

           The Plaintiff, JOHN ANTONY, through undersigned counsel, hereby designates his


   expert witness in accordance with the Federal Rules of Civil Procedure and the Local Rules of


   this Court and state that the following persons may be called to provide expert testimony or

   present evidence at trial on behalf of the Plaintiff.

           I.      RETAINED EXPERTS

           Cedar Boschan
           Boschan Corp.
           10866 Washington Blvd., #1205
           Culver City, CA 90232
           (424) 248-8866

           Ms. Boschan maybe called to testify as to (1) value of what areasonable arms-length
   negotiated license would have been between Antony and Defendant; (2) value of Defendant's
   revenues generated by exploitation of Plaintiffs Work; (3) Any of Defendant's Proven Costs; (4)
   Potential Interest from Defendants failure to license and/or compensate Plaintiff through royalty;
   (5) Damages to Plaintiff via costs incurred; and (6) any other subjects or opinions referenced in
   her report or in subsequent deposition testimony, including reasonable inferences arising therein..


           Any necessary report, curriculum vitae, and testifying history will be produced to
   Defendants.
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             Plaintiff reserves the right to call any expert designated by Defendant or called by
       Defendant at hearing or trial. Plaintiff further reserves the right to solicit testimony from any
       person identified by any party as afact witness in this case, which may require such witness to
       rely upon their specialized knowledge, training, experience, education, or expertise in a
       particular filed or which may be considered "opinion" testimony. It is expected that such persons
       and any non-retained persons would provide testimony consistent with any and all records they
       have generated and/or any testimony or statements provided to any person or party and within
       the realm of their expertise and training.

              Plaintiff may also solicit expert testimony from any party in this case. It is expected that
       any opinions solicited from such parties would be opinions provided within the realm of their
       expertise and consistent with their business records and/or consistent with deposition testimony
       or statements provided on such subjects.

              Plaintiff reserves the right to supplement this designation. Plaintiff reserves the right to
       designate additional experts and Plaintiffs experts reserves the right to supplement, amend, or
       modify any of the opinions expressed in their reports as additional information may become
       available through discovery and at trial.

              Plaintiff reserves the right to solicit testimony from any witness, lay or otherwise, who
       may have relevant opinions within the realms of their expertise.



       DATED: July 10, 2023                           Respectfully submitted,

                                                      Is! Joel B. Rothman
                                                      JOEL B. ROTHMAN (Admitted Pro Hoc Vice)
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                                                      Counsel for Plainti
                                                                        ff John Antony
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                                           CERTIFICATE OF SERVICE

              The undersigned does hereby certify that on July 10, 2023 atrue and correct copy of the
       foregoing document was served by electronic mail by the Court's CM/ECF System to all parties
       listed below on the Service List.

                                                   /s/ Joel B. Rothman
                                                   JOEL B. ROTHMAN


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